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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   IMPLICIT, LLC,                                §
                                                 §
                 Plaintiff,                      §         Case No. 2:19-cv-00040-JRG-RSP
          v.                                     §         LEAD CASE
                                                 §
   IMPERVA, INC.,
                                                 §
   FORTINET, INC.,                               §         Case No. 2:19-cv-00039-JRG-RSP
                                                 §         CONSOLIDATED CASE
                                                 §
   JUNIPER NETWORKS, INC.,
                                                 §         Case No. 2:19-cv-00037-JRG-RSP
                 Defendants.                     §         CONSOLIDATED CASE
                                                 §

                                             ORDER

   .     Before the Court is Plaintiff Implicit, LLC’s (“Plaintiff”) Opposed Motion for Expedited

  Briefing (“Motion to Expedite”). Dkt. No. 191. This Motion to Expedite seeks to expedite briefing

  for Plaintiff’s Opposed Motion to Amend Fourth Amended Docket Control Order (“Motion to

  Amend”) (Dkt. No. 190). After consideration, it is ORDERED that the briefing schedule for

  Plaintiff’s Motion to Amend is modified as follows:

                                 BRIEF                    DEADLINE
                                Response                January 20, 2020
                                 Reply                  January 21, 2020
                           Sur-Reply                    January 22, 2020
          SIGNED this 3rd day of January, 2012.
          SIGNED this 16th day of January, 2020.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
